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 2
                              UNITED STATES DISTRICT COURT
 3
                                 EASTERN DISTRICT OF CALIFORNIA
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 6    UNITED STATES OF AMERICA,                        Case No. 1:11-CR-00304-(1)-LJO
 7                            Plaintiff,
                                                       ORDER REFERRING CASE TO FEDERAL
 8           v.                                        DEFENDER’S OFFICE
 9    CESAR GALVAN CORTES,
10                            Defendant.
                                                       (Doc. 72)
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13          On February 22, 2016, Defendant Cesar Galvan Cortes filed a pro se motion to reduce his

14   sentence (Doc. 72) pursuant to Title 18, United States Code, Section 3582(c)(2) (“Section 3582

15   Motion”). Pursuant to Eastern District of California General Order 546, the Federal Defender’s

16   Office (“FDO”) is hereby appointed to represent Defendant in this matter. From the filing date of

17   this Order, the FDO SHALL have 90 days, on or before June 7, 2016, to file a supplement to

18   Defendant’s pro se Section 3582 Motion or to notify the Court that it does not intend to file a

19   supplement to the motion. Thereafter, the government SHALL have 30 days from the date of the

20   FDO’s filing to file a response to Defendant’s Section 3582 Motion.
     IT IS SO ORDERED.
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22      Dated:     March 10, 2016                           /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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